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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

In re: Application Pursuant to         )
28 U.S.C. 1782 of                      )
                                       )
FARHAD AZIMA                           )                Case No.: 22-20707-MC-MARTINEZ
                                       )
           Petitioner,                 )
v.                                     )
                                       )
INSIGHT ANALYSIS AND RESEARCH,         )
LLC, and SDC-GADOT LLC,                )
                                       )
           Respondents,                )
                                       )
_______________________________________)

 NON-PARTY’S NOTICE OF FILING AFFIDAVIT IN SUPPORT OF MOTION TO QUASH
                  AND MOTION FOR PROTECTIVE ORDER:

      Non-party, AMIT FORLIT, by and through the undersigned counsel, hereby files the attached

Affidavit in support of Non-Party’s Motion filed with the Court as DE # 7.

                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 16th day of May, 2022, that a true and correct
copy of the foregoing has been filed through the Court’s CM/ECF-filing portal and that a true copy
has been served through the portal upon all counsel of record in this action.

                                                Respectfully submitted,

                                           By: /s/ Christopher S. Salivar, Esq.
                                               Christopher S. Salivar, Esquire
                                               Florida Bar No.: 57031
                                               6576 Whispering Wind Way
                                               Delray Beach, FL 33484
                                               Tel: (561) 628-8908
                                               Email: cssalivarattorney@gmail.com

                                           By: /s/ Elan I. Baret, Esq.
                                               Elan I. Baret, Esquire


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                                     Florida Bar No.: 20676
                                     3999 Sheridan Street, 2nd Floor
                                     Hollywood, Florida 33021
                                     Tel: (954) 486-9966
                                     Facsimile: (954) 585-9196
                                     Email: elan@baretlawgroup.com




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